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AO 458 (Rev. 06/09) Appearance of Counsel


                                     United States District Court
                                                         for the
                                                  DISTRICT OF COLUMBIA


  PERKINS COIE LLP
                                                               )
                             Plaintiff                         )
  U.S. DEPARTMENT O^ JUSTICE, et al.,                          )     Case No.     Civil Action No. 25-0716 (BAH)
                                                               )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                Plaintiff PERKINS COIE LLP


Date:              Zs,


                                                                      Malachi B. Jones (#455555)
                                                                                      Printed name and bar number


                                                                              Williams & Connolly LLP
                                                                              680 Maine Avenue, S.W., Washington, DC 20024

                                                                                                 Address

                                                                                mjones@wc.com

                                                                                            E-mail address

                                                                                (202) 434-5000

                                                                                           Telephone number

                                                                                (202) 434-5029

                                                                                             FAX number
